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                EXHIBIT “A”
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                                               STATE OF FLORIDA
                                    DIVISION OF ADMINISTRATIVE HEARINGS
                                OFFICE OF THE JUDGES OF COMPENSATION CLAIMS

                            PETITION FOR WORKERS’ COMPENSATION BENEFITS
Employee/Claimant petitions the Office of the Judges of Compensation Claims for an order requiring Employer/Carrier to provide
benefits due under Chapter 440, Florida Statutes as claimed below.
EMPLOYEE:         Danny Ortiz Morales                                                  OJCC CASE NO. (required if previously issued): 23-020548JAW
                  4243 Pine Hollow Circle
                  Green Acres, FL 33463
                  239-433-6670

EMPLOYER:          Southeast Personnel Leasing/Shave Steel, LLC                        CARRIER:    Packard Claims Administration
                   2739 U.S. Highway 19 North                                                      PO Box 1549
                   Holiday , FL 34691                                                              Tarpon Springs, FL 34688
                   727-938-5562                                                                    --

CLAIMANT'S NAME (if different from the employee):



EMPLOYEE/CLAIMANT'S ATTORNEY (if any):                   Christopher Mossallati
                                                         0120274
                                                         2150 Goodlette-Frank Rd, Suite 750
                                                         Naples, FL 34102
                                                         2394326673

DATE OF ACCIDENT (disablement date if occupational disease): 5/16/2023                   ACCIDENT COUNTY: Collier
                                                                                       ACCIDENT STATE: FL
DETAILED DESCRIPTION OF JOB RESPONSIBILITIES:                                          SPECIFIC WORK BEING PERFORMED WHEN INJURY OCCURRED:
Laborer                                                                                Laborer
DETAILED DESCRIPTION OF THE ACCIDENT: IW had his hand on a loaded
forklift to help guide it when the forklift operator bumped into an electrical line,   IS THIS PETITION FOR MEDICAL BENEFITS ONLY: Yes
electrocuting IW and causing catastrophic burns and loss of limb.                      AWW 13 WEEKS PRECEDING ACCIDENT:
PART(S) OF BODY INJURED: right arm amputated, left pinky toe amputated,                CURRENT AWW:
bilateral foot/ankle, bilateral legs, and burns across body.
                                                                                       CURRENTLY WITH SAME EMPLOYER: N
CHARACTER OF DISABILITY: The injury/injuries occasioned by the events                  CURRENT WORK LEVEL: Not Working/No Wages
described above has/have adversely affected the injured employee's capacity to earn
in the same or any other employment the wages that the employee was receiving at       HAS MMI BEEN REACHED: N         IF SO, DATE OF MMI:
the time of the injury.

Jurisdiction: The Judge of Compensation Claims has jurisdiction over the parties and the subject matter of this petition.
Managed care grievance procedures, if required, were exhausted under F.S. §440.192(3). The Grievance was dated:




OJCC Form PFB (Revised 9-1-2006)

              Filed August 16, 2023 10:24 AM ET Office of the Judges of Compensation Claims.
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MONETARY (INDEMNITY) BENEFITS CLAIMED, FLORIDA STATUTES §440.15




MEDICAL AND REHABILITATIVE BENEFITS, FLORIDA STATUTES §440.13

CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Attendant Care
Details: Authorization, payment, scheduling and provision for IW to receive home health aide as recommended and prescribed by authorized provider. (See Attached
Records). The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery.


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Other
Details: The injured employee seeks continued treatment, authorization, payment, and scheduling of a follow up appointment with Dr. VanVliet, or alternative plastic
surgeon if Dr. VanVliet is refusing to provide treatment. The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards
recovery.


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Pain Management
Details: Authorization, scheduling, and payment for the Claimant to be evaluated and treated with pain management, as recommended by authorized provider, Dr. VanVliet.
The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery. (See Attached)


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Physical Therapy
Details: Authorization, payment, scheduling and provision for IW to receive physical therapy as recommended and prescribed by authorized provider. (See Attached
Records). The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery.


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Other
Details: Authorization, payment, scheduling and provision for IW to receive occupational therapy as recommended and prescribed by authorized provider. (See Attached
Records). The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery.


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Other
Details: Authorization, payment, scheduling and provision for IW to receive Silver Nitrate to clean his wound as recommended and prescribed by authorized provider. (See
Attached Records). The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery.


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Other
Details: Authorization, scheduling, and payment for the Claimant to be evaluated and treated with Hanger Clinic or other prosthetist for custom prosthetic, as recommended
by authorized provider. The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery. (See Attached)


CLASS OF BENEFIT: Authorization of Medical Care/Testing SPECIFIC TYPE: Other
Details: Authorization, payment, scheduling and provision for IW to receive protein supplement as recommended and prescribed by authorized provider. (See Attached
Records). The treatment is needed because the employee is in chronic pain and not making satisfactory progress towards recovery.




PENALTIES, INTEREST, COSTS, ATTORNEY'S FEES, OR OTHER CLAIMS

CLASS OF BENEFIT: Attorney Fees and/or Costs
Details: Authorization and payment of Claimant’s attorney’s fees and costs for securing the requested benefits under the Florida Workers’ Compensation Law, Chapter 440
and applicable case law.




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                                                                      8/16/23
